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Patrick Bradley

From:                                Chambers of Judge Paul S Diamond
Sent:                                Thursday, October 31 , 2019 8:42 AM
To:                                  Patrick Bradley
Subject:                             FW: Minto v. Coley, ~             -




From: Scott Seskin <ss@SESKINLAW.COM>
Sent: Wednesday, October 30, 2019 5:06 PM
To: Chambers of Judge Paul S Diamond <Chambers_of_Judge_Paul_S_Diamond@paed.uscourts.gov>; Chilton G. Goebel,
Ill <goebelc@ggmfirm .com>; Lauren Green <greenl@ggmfirm.com>; Kristy Bruce <kbruce@njpa-law.com>
Subject: Re : Minto v. Coley, z :18 cv 0381:7 .   1 g _ ?_ g() 0
Dear Judge Diamond,

This email is written to apprise the Court as to the status of the above-referenced matter.

We are pleased to report that the parties are finalizing our agreement to proceed to arbitration, and we have
agreed upon an arbitrator to hear and decide the case. We expect to conclude the agreement shortly, and will
advise the Court immediately thereafter.

We look forward to hearing from the Court should it have any questions concerning our efforts to resolve this
matter.

Respectfully,

Scott H. Seskin




Scott H. Seskin, Esq.

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